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                                                                             Emily S. DiBenedetto
                                                                             I.M. Pei Building
                                                                             1105 North Market Street, 12th Floor
                                                                             Wilmington, DE 19801
                                                                             (302) 298-0700
                                                                             (302) 298-0713 – Direct
                                                                             edibenedetto@shawkeller.com


                                            February 21, 2023

BY CM/ECF & HAND DELIVERY
The Honorable Maryellen Noreika
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801

       Re:     Autonomous Devices LLC v. Tesla, Inc., C.A. No. 22-1466-MN

Dear Judge Noreika:

        Pursuant to D. Del. L. R. 7.1.4, Plaintiff Autonomous Devices LLC respectfully requests
oral argument on Defendant Tesla, Inc.’s Motion to Dismiss for Failure to State a Claim
(“Tesla’s Motion to Dismiss”). D.I. 11.

       Plaintiff believes oral argument will be helpful, particularly in light of Plaintiff’s Motion
for Leave to File Sur-Reply in Opposition. D.I. 18. Briefing on Tesla’s Motion to Dismiss is
otherwise complete, and the parties’ submissions may be found at Docket Items 12, 15, and 16.
The reply brief was filed on February 13, 2023.

      Plaintiff wishes to inform the Court that, if argument is granted, Autonomous Devices
LLC intends to have a newer attorney argue in opposition to Tesla’s Motion to Dismiss.

                                                      Respectfully submitted,

                                                      /s/ Emily S. DiBenedetto

                                                      Emily S. DiBenedetto (No. 6779)


cc:    Clerk of Court (by CM/ECF & Hand Delivery)
       All Counsel of Record (by CM/ECF & Email)
